                 Case: 20-15029, 01/08/2020, ID: 11555027, DktEntry: 1-1, Page 1 of 3

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                            January 08, 2020


       No.:                       20-15029
       D.C. No.:                  2:14-cv-00595-WBS-EFB
                                  California Department of Toxic, et al v. Century
       Short Title:
                                  Indemnity Company, et al


       Dear Appellants/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
      Case: 20-15029, 01/08/2020, ID: 11555027, DktEntry: 1-1, Page 2 of 3




                UNITED STATES COURT OF APPEALS
                                                                  FILED
                       FOR THE NINTH CIRCUIT
                                                                  JAN 08 2020
                                                                 MOLLY C. DWYER, CLERK
                                                                  U.S. COURT OF APPEALS




CALIFORNIA DEPARTMENT OF                   No. 20-15029
TOXIC SUBSTANCES CONTROL;
TOXIC SUBSTANCES CONTROL
                                           D.C. No. 2:14-cv-00595-WBS-EFB
ACCOUNT,
         Plaintiffs - Appellees,           U.S. District Court for Eastern
 v.                                        California, Sacramento

 JIM DOBBAS, INC., a California            TIME SCHEDULE ORDER
corporation; CONTINENTAL RAIL,
INC., a Delaware corporation; DAVID
VAN OVER, individually; PACIFIC
WOOD PRESERVING, a dissolved
California corporation; WEST COAST
WOOD PRESERVING, LLC, a
Nevada limited liability company;
COLLINS & AIKMAN PRODUCTS,
LLC, a Delaware limited liability
company,
             Defendants,
  v.

CENTURY INDEMNITY
COMPANY; ALLIANZ
UNDERWRITERS INSURANCE
COMPANY; CHICAGO
INSURANCE COMPANY;
FIREMAN'S FUND INSURANCE
COMPANY; THE CONTINENTAL
INSURANCE COMPANY, Proposed
Intervenors

            Movants - Appellants.
        Case: 20-15029, 01/08/2020, ID: 11555027, DktEntry: 1-1, Page 3 of 3



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.

Wed., January 15, 2020        Appellants' Mediation Questionnaire due. If your
                              registration for Appellate CM/ECF is confirmed after
                              this date, the Mediation Questionnaire is due within
                              one day of receiving the email from PACER
                              confirming your registration.
Mon., February 3, 2020        Transcript shall be ordered.
Tue., March 3, 2020           Transcript shall be filed by court reporter.
Mon., April 13, 2020          Appellants' opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.
Wed., May 13, 2020            Appellee's answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.

The optional appellants' reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

Failure of the appellants to comply with the Time Schedule Order will result
in automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT

                                                By: Ruben Talavera
                                                Deputy Clerk
                                                Ninth Circuit Rule 27-7
